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UNITED STATES DISTRICT COURT — INDIANAPOLIS Divisiok
SOUTHERN DISTRICT OF INDIANA WEre ih F412: 3

INDIANAPOLIS DIVISION
SOUTHERN DISTRICT
LAURATA. BRIGGS
UNITED STATES OF AMERICA, ) AOR ERR
)
Plaintiff, )
)
Vv. ) Cause No. 1:10-CR-
)
DANIEL A. KRUK, )
) g20-cr- 006 1 SEB -KPF
Defendant. )

INDICTMENT

INTRODUCTION

 

The Grand Jury charges that:

At all times pertinent hereto, the following relevant facts were true:

1. “Earth Liberation Front” or “ELF” was, and remains, a loosely organized
movement of individuals who are committed to the eradication of commercial development,
research, and other activities that its adherents consider harmful to the natural environment. ELF
espouses a philosophy of what its adherents refer to as “direct action,” a term that denotes acts of
politically-motivated violence designed to force segments of society, including the general
civilian population, private business, and government, to change their attitudes about
environmental issues and/or to cease activities considered by the movement to have a negative
impact on the natural environment.

2. ELF direct actions include acts that violate the criminal laws of the United States

 
 

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or of individual States and that are sometimes dangerous to human life. ELF adherents carry out
such direct actions in order to intimidate or coerce civilian populations and/or to influence the
policy of government through such means. Arson is a frequently employed form of ELF direct
action.

3. ELF maintains and operates a website on the Internet for purposes that include
advocating its views, promulgating direct action techniques and providing instruction on
construction of incendiary devices, and publicizing direct actions carried out by its adherents

against specific targets. Over time, such targets have included new-home and commercial

 

property construction sites; construction and logging equipment; and locations where plant and
animal genetic research are conducted.
4, The Grand Jury incorporates into Count 1, specifically and by reference and as if

stated therein, the allegations and assertions stated in the Introduction.

 

 
 

 

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COUNT 1
[Arson]

On or about September 9, 2000, in Monroe County, in the Southern District of Indiana,
the Defendant,
DANIEL A. KRUK
and a person known to the Grand Jury, did maliciously damage and attempt to destroy, by
means of fire, or aid and abet such malicious damage and attempt to destroy by means of fire,
real property used in interstate commerce or in an activity affecting interstate commerce, to wit: a
building located at 644 N. Morton, Bloomington, Southern District of Indiana, in violation of

Title 18 U.S.C. §§ 2 and 844(i).

   

FOREPERSON

 

TIMOTHY M. MORRISON
United States Attorney

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Assistant United States Attorney

 
